                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
IN RE:                                                     :
JOHNSON RESIDENTIAL LLC,                                   : CASE NO. 5-22-00412-MJC
                                                           :
             DEBTOR                                        : CHAPTER 7
::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
JOHN J. MARTIN, CHAPTER 7                                  :
TRUSTEE FOR THE ESTATE OF                                  :
JOHNSON RESIDENTIAL LLC,                                   :
                                                           :
             MOVANT,                                       :
                                                           :
VS.                                                        :
                                                           :
WAYNE BANK                                                 :
                                                           :
         RESPONDENT.                                       :
:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::


             ORDER GRANTING CHAPTER 7 TRUSTEE’S MOTION SEEKING
               AUTHORITY TO SELL REAL PROPERTY OF THE ESTATE
                 FREE AND CLEAR OF LIENS AND ENCUMBRANCES
                         (302, ROUTE 507, TAFTON, PA)

    Upon consideration of the Chapter 7 Trustee’s Motion to Sell Real Property of the

Estate Free and Clear of Liens and Encumbrances, and after notice to all creditors and

parties-in-interest entitled to notice, it is hereby

    ORDERED AND DECREED

    i)       That the Motion is hereby GRANTED; and

    ii)      That the Trustee shall be authorized to sell the real property located at

             located 302 Route 507, Tafton, Pike County, PA                           18464, (Tax Map No.

             043.03-01-03), as reflected in the deed recorded in Pike County Recorder of

             Deeds Office at Deed Book 2593 at Page 985 (“Property”) to Lords Valley




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          Association, a non-insider of the Debtor, for the sum of Four Hundred Ninety–

          Five Thousand Dollars ($495,000.00); and

   iii)   That the Trustee shall be authorized to execute any and all documents

          necessary to consummate the subject sale, including a Trustee’s Deed on

          behalf of the Estate, conveying title of the subject property to the buyer and to

          distribute the sale proceeds as set forth in the Motion; and

   iv)    That the Trustee shall be authorized to distribute the proceeds as follows:

             a.     Any and all costs and expenses incurred by the
                    Bankruptcy Estate in connection with the Sale,
                    including closing costs, Realtor’s commission and
                    payment of Trustee’s legal fees in the amount of Two
                    Thousand Five Hundred Dollars ($2,500.00);

             b.     Any out-of-pocket expenses advanced or incurred by
                    the Trustee in connection with the sale or
                    preservation of the Property, and which have not
                    been reimbursed at the time of settlement and the
                    Trustee’s counsel’s fees and expenses;

             c.     Any transfer tax which is the responsibility of the
                    Seller/Trustee herein;

             d.     Any notarization and/or incidental recording fees
                    associated with the sale of the Property;

             e.     Payment of any past due real estate taxes and
                    present real estate taxes pro-rated to the date of
                    settlement;

             f.     Past due sewer, water and other municipal charges if
                    any and present sewer, water and any other
                    municipal charges, if any, pro-rated to the date of
                    settlement; and

             g.     Balance after payment of the above, if any, to the
                    lienholders and creditors in their order of priority
                    according to the United States Bankruptcy Code and
                    applicable state law.




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      v)      The Court finds that the Trustee’s sale is being made in “good faith” and

   this is a Final Order not subject to the fourteen (14) day stay under Bankruptcy Rule

   6004(h).



                                           By the Court,



                                           _____________________________
                                           Mark J. Conway, Bankruptcy Judge
                                           Dated: April 18, 2022




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